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14                                   UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA
15
        COREY GERWASKI,                                      Case No. 2:24-cv-00985-APG-MDC
16
                       Plaintiff,
17
                               v.                            DR. HATEM BAZIAN’S REPLY IN
18                                                           SUPPORT OF MOTION TO QUASH
        STATE OF NEVADA, ex rel. BOARD
19                                                           SERVICE
        OF REGENTS of the NEVADA
        SYSTEM OF HIGHER EDUCATION,
20      on behalf of the UNIVERSITY OF
21      NEVADA, LAS VEGAS; CHRISTOPHER
        HEAVEY, in his official capacity as current UNLV
22      Interim President; AJP
        EDUCATIONAL FOUNDATION INC.,
23      a California Non-Profit Corporation;
        STUDENTS FOR JUSTICE OF
24      PALESTINE-UNLV; NATIONAL
25      STUDENTS FOR JUSTICE OF
        PALESTINE;
26       DOES I-XX and ROE entities I-XX,

27                     Defendants.

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 1                                        I.         INTRODUCTION

 2          Dr. Hatem Bazian (“Dr. Bazian”) presented this Court with a sworn declaration, under the

 3   penalty of perjury, that affirms he is not the founder of National Students for Justice in Palestine

 4   (“NSJP”), nor any Students for Justice in Palestine (“SJP”) chapter, nor has he ever held any position

 5   with NSJP or an SJP chapter. ECF 56-2. In response, Plaintiff provides this Court only with

 6   unverified statements from third parties that do not create any legal relationship between Dr. Bazian

 7   and NSJP. Plaintiff fails to establish that Dr. Bazian is an appropriate person to serve for NSJP.

 8   Therefore, Dr. Bazian respectfully requests this Court quash the service made on him.

 9                                             II.     ARGUMENT

10          Plaintiff fails to present any support for his contention that Dr. Bazian is affiliated in any way

11   with NSJP, or ever has been. Instead, Plaintiff presents a series of unsubstantiated statements made

12   by individuals unfamiliar with Dr. Bazian or NSJP. None of Plaintiff’s “exhibits” creates any real

13   question of fact about Dr. Bazian’s involvement with NSJP or any SJP chapter. First, Plaintiff cites

14   November 2023 testimony by Dr. Jonathan Schanzer, whose statement that Dr. Bazian “also founded

15   Students for Justice in Palestine” finds its support in a “backgrounder” by the Anti-Defamation

16   League (“ADL”). ADL’s resource provides no citation for its assertion of the same. Plaintiff’s next

17   exhibit, July 2024 Congressional testimony by an ADL official, similarly fails to provide any support

18   for the assertion that Dr. Bazian founded any SJP chapter. Exhibit 3 quotes statements made by Dr.

19   Bazian about SJP, but fails to provide any support to the reporter’s characterization that Dr. Bazian

20   “co-founded” the organization. As for Exhibit 4, Dr. Bazian subsequently testified in a deposition in

21   another matter that he never reviewed or verified that Complaint, and had he done so, he would have

22   corrected the statement. See Exhibit A, Excerpts from the Deposition of Hatem Bazian, Ph.D., in

23   Boim et al. v. American Muslims for Palestine et al., No. 17-cv-03591 (N.D. Ill. Apr. 16-17, 2024).

24   Next, Exhibit 5 is a letter from Congressman James Comer to Dr. Bazian, which asserts that Dr.

25   Bazian is the “National SJP founder,” relying on a citation to a 2018 book, which in turn, again,

26   provides no support for the allegation. In responding to Chairman Comer’s letter, counsel for Dr.

27   Bazian and AMP immediately and publicly corrected the notion that Dr. Bazian has or ever had

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 1   anything to do with NSJP or any SJP chapter. 1 None of these exhibits creates any factual question

 2   about whether Dr. Bazian founded or plays any role in NSJP or an SJP chapter; they merely evince

 3   an echo-chamber of people and organizations who repeat the statement, as its truth would benefit

 4   them and their aims.

 5          Additionally, even if Plaintiff had shown that Dr. Bazian is a founder of NSJP or any SJP

 6   chapter, Plaintiff still fails to demonstrate how that would make him “at a minimum, an agent of

 7   NSJP,” such that service on him is proper service of NSJP. See ECF No. 87 at 5. Nevada law

 8   specifies that a service on a foreign entity is proper upon, among other individuals, an “agent

 9   identified in Rule 4.2(c)(1).” N.R.C.P. 4.2(c)(2). Rule 4.2(c)(1)(A) lists ten specific individuals who

10   may qualify as an “agent” absent the existence of a registered agent in the state of Nevada. 2 Nothing

11   in Plaintiff’s bald assertion that Dr. Bazian is “at a minimum, an agent of NSJP” establishes that Dr.

12   Bazian falls into one of those ten categories. 3 And indeed, he does not. Plaintiff does not explain

13   why he did not even attempt service on members of the NSJP steering committee or their identified

14   counsel. See, e.g., Motion to Dismiss and Motion to Strike Plaintiff’s First Amended Complaint by

15   National Students for Justice in Palestine, Parizer et al v. AJP Educational Foundation Inc. et al,

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17   1
       AMP Responds to Chairman James Comer’s Misinformation and Baseless Accusations, AMERICAN
     MUSLIMS FOR PALESTINE (June 26, 2024), https://www.ampalestine.org/media/media-
18   room/statements/amp-responds-chairman-james-comers-misinformation-baseless-accusations
19   (linking to a PDF of AMP’s response letter to Chairman Comer).
     2
20     A plaintiff may properly serve one of the following agents of a corporation: “(i) the registered
     agent of the entity or association; (ii) any officer or director of a corporation; (iii) any partner of a
21   general partnership; (iv) any general partner of a limited partnership; (v) any member of a member-
     managed limited-liability company; (vi) any manager of a manager-managed limited-liability
22   company; (vii) any trustee of a business trust; (viii) any officer or director of a miscellaneous
     organization mentioned in NRS Chapter 81; (ix) any managing or general agent of any entity or
23   association; or (x) any other agent authorized by appointment or by law to receive service of
24   process.” N.R.C.P. 4.2(c)(1)(A).
     3
       Plaintiff claims that “[t]here is no dispute that NSJP is subject to jurisdiction in Clark County,
25   Nevada.” But Plaintiff provides no support for that definitive statement. Plaintiff also claims that
26   Dr. Bazian giving a lecture at UNLV in 2024 subjects him to this Court’s personal jurisdiction. ECF
     No. 87 at 5 n.6. Dr. Bazian will gladly provide this Court with additional briefing on why that claim
27   is plainly legally insufficient, should this Court request. However, Plaintiff also admits that Dr.
     Bazian “is not currently named as a Defendant in his personal capacity,” so whether personal
28   jurisdiction over Dr. Bazian exists is not at issue. Id. at 3 n.3.
                                                        2
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 1   No. 1:24-cv-00724 (E.D. Va. Oct. 29, 2024), ECF No. 118. Instead, Plaintiff provides no legal

 2   support for his claim that Dr. Bazian is a proper individual to serve for NSJP, and this Court may

 3   therefore easily quash the service on him.

 4                                         III.      CONCLUSION

 5          Plaintiff asked this Court for additional time to serve NSJP or to serve it by publication. ECF

 6   27. This Court denied the request for service by publication, and on January 10, 2025, provided

 7   Plaintiff with an extension to serve NSJP until February 28, 2025. Plaintiff waited until the last

 8   opportunity and, instead of serving any of the possible proper individuals, served Dr. Bazian on

 9   February 23. This service is plainly improper, and Plaintiff provides no factual or legal support for

10   it. In contrast, Dr. Bazian provided this Court with a sworn declaration that he is not affiliated with

11   NSJP. Therefore, Dr. Bazian respectfully requests this Court quash the service upon him.

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     Dated: July 14, 2025
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                                                  Respectfully submitted,
14
                                                  /s/ Christina A. Jump
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 1                                      CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that on this 14th day of July, 2025, I electronically filed the foregoing

 3   with the Clerk of Court using the CM/ECF system, which will send a notice of electronic filing to

 4   all counsel of record.

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 6                                                      /s/ Christina A. Jump
                                                        Counsel for Dr. Bazian
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